                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

  DARRYL G. GRIGSBY,                                )
                                                    )
            Petitioner,                             ) Civil Action No. 3:17-CV-463-CHB-CHL
                                                    )
  v.                                                )
                                                    )                 ORDER
  DON BOTTOM, Warden of Northpoint                  )
  Training Center,                                  )
                                                    )
            Respondent.
                                        ***   ***    ***   ***
       This matter is before the Court on counsel Maureen Sullivan’s Motion for Enlargement

of Time for Response to Court’s Order of October 18, 2019. [R. 30] On October 18, 2019 the

Court ordered counsel to respond within fourteen days to claims made by petitioner in his

Motion to Re-Open the Case. [R. 25; 28] Sullivan has requested an extension of one day to file a

response to petitioners claim [R. 30], and also moved to withdraw as counsel indicating that she

had been discharged by Petitioner. [R. 31] She has not indicated when she was discharged, or

provided any other details regarding this development. She also has not complied with the

requirements of Local Rule 83.6. Therefore, and with the Court being otherwise sufficiently

advised,

       IT IS HEREBY ORDERED as follows:

       1.        Maureen Sullivan’s Motion for an Enlargement of time [R. 30] is GRANTED.

Sullivan shall submit her response by Thursday, November 7, 2019 at 5:00 p.m.

       2.        The Court DENIES without prejudice Sullivan’s Motion to Withdraw [R. 31].

Any subsequent motion to withdraw shall comply with Local Rule 83.6 and provide the Court

details of her discharge including the date when it occurred.



                                               -1-
       3.     The Court’s Order to Show Cause [R. 32] will remain pending until Sullivan

responds to Petitioner’s Motion.

       This the 6th day of November, 2019.




cc: Maureen Sullivan




                                             -2-
